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                               IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW MEXICO



LINITED STATES OF AMEzuCA.                       )
                                                 )
                           Plaintiff.            )
                                                 )
                                                 )         15-1515 RB
                                                 )
Daniel Lee Jacquez, et.al.                       )
                                                 )
                          Defendant.             )



                                  DECLARATION OF PUBLICATION

         In accordance with 21 U.S.C. $ 853(n)(l) and Rule 32.2(b)(6)(C) olthe Federal Rules

of Criminal Procedure, notice of the forleiture was posted on an official govemment intemet

srte   ww*'.forfeiture.   OV   for at least 30 consecutive days, beginning on April 29,2017

and ending on May 28,2017. (See, Attachment          l).

        I declare under penalty ofperjury that the foregoing is true and comect. Executed on

luly 26.2017 at Las Cruces, NM



                                                     a Roebuc
                                              FSA Paralegal{Legal Assistant
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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW MEXICO
           COURT CASE NUMBER: 15-1515 RB; NOTICE OF FORFEITURE

       Notice is hereby given that on April 27 ,2017, in the case of U.S. v. Daniel Lee
Jacquez, et.al , Court Case Number '15-1515 RB, the United States District Court for
the District of New Mexico entered an Order condemning and forfeiting the following
property to the United States of America:

     Assorted Firearms, VL: $14.00 (15-DEA-612117), including the following items: 1
     Taurus .357 Magnum Revolver with holster, Ser No: EM350803; 1 Ruger LC9 9mm
     Pistol, Ser No: 322-61299; 1 Glock Ges MBH 19 9mm Pistol, Ser No: NAS672; 1
     Glock Ges MBH 19 9 mm Pistol, Ser No: PFG005; 1 Smith & Wesson Bodyguard
     380 Pistol, Ser No: KAN445B; 1 Beretta Nano 9mm Pistol with holster, Ser No:
     NU073964; 1 Arms lndustry 1911 Para Expert.45 Pistol, Ser No: 015080NW; 1
     Mossbert 500 20 Gauge Pump Shotgun, Ser No: U447329;1 Umarex MP Uzi .22
     Rifle, Ser No: W1012534; 1 RugerSturm 10-22 .22Rifle, Ser No: 826-64536; 1
     Ruger Sturm 10-22 .22 Rifle, Ser No: 828-47211; 1 Ruger Sturm 10-22 .22 Rifle,
     Ser No: 826-64595; 1 Mossberg Sons 5004 12 Gauge Pump Shotgun, Ser No:
     U279954;1 Armlite AR-15 223 Assault Rifle, Ser No: 54689F13, a box of Hornady
     ammunition containing 25 9mm cartridges, a magazine,8.40 cartridges, and
     miscellaneous ammunition identified as Exhibitis N-225, N-226 and N-227 which
     was seized from Daniel Lee Jacquez on April 30, 2015 at 508 E. 32nd Street,
     Iocated in Silver City, NM

       The Unlted States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any
person, other than the defendant(s) in this case, claiming interest in the forfeited
property must file a Petition within 60 days of the first date of publication (April 29,
2017) of this Notice on this official government internet web site, pursuant to Rule 32.2
of the Federal Rules of Criminal Procedure and 21 U.S.C. S 853(n)(1). The petition
must be filed with the Clerk of the Court, 100 N. Church Street, Suite 280, Las Cruces,
NM 88001, and a copy served upon Assistant United States Attorney Brock Taylor, 555
S.TelshorBlvd.,Suite300,LasCruces,NM S80ll.Thepetitionshall besignedbythe
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of
the petitioneis acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. $ 853(n).

         Following the Court's disposition of all petitions filed, or if no such petitions are
filed, following the expiration of the period specified above for the filing of such
petitions, the United States shall have clear title to the property and may warrant good
title to any subsequent purchaser or transferee.




                                      ATTACHMENT 1
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                                    Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.oov web site for at least 18 hours per day
betlveen April 29,2017 and May 28, 2017. Below is a summary report that ldentifies the uptime for each
day within the publication period and reports the results of the web monitoring system's daily check that
verifies that the advertisement was available each day.

U.S. v. Daniel Lee Jacquez, et.al

Court Case No:               15-15'15 RB
For Asset lD(s):             See Attached Advertisement Copy

    Consecutive         Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day           Appeared on the                                            Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                  0412912017                      24.0                         Verified
         2                  04t30t2017                      24.0                         Verified
         3                  05t0112017                      24.0                         Verified
         4                  05t02t2017                      24.0                         Verified
         5                  05t03t2017                      24.0                         Verified
         6                  05t04t2017                      24.0                         Verified
         7                  05t05t2017                      24.0                         Verified
         8                  05t06t2017                      24.Q                         Verified
         I                  osto7 t2017                    24.0                          Verified
        10                  05t08t2017                     24.0                          Verified
        11                  05t09t2017                     24.0                          Verified
        12                  05t1012017                     24.0                          Verified
        13                  05t11t2017                     24.O                          Verified
        14                  05112t2017                     24.0                          Verified
        15                  05t13t2017                     24.0                          Verified
        16                  05114t2017                     24.0                          Verified
        17                  05t15t2017                     24.0                          Verified
        18                  05t16t2017                     24.0                          Verified
        19                  05t17t2017                     24.0                          Verified
        20                  05t1812017                     24.0                          Verified
        21                  05t1912017                     24.0                          Verified
        22                  05t20t2017                     24.0                          Verified
        ZJ                  05t21t2017                     24.0                          Verified
        24                  05122t2017                     24.0                          Verified
        25                  05t23t2017                     24.0                          Verified
        26                  05t24t2017                     24.0                          Verified
        27                  05t25t2017                     24.0                          Verified
        ztt                 05t26t2017                     24.0                          Verified
        29                  0512712017                     24.0                          Verified
        30                  05t2812017                     24.0                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed




                                            ATTACHMENT 1
